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                      UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL BIRDSONG, individually and on
behalf of all others similarly situated,

                     Plaintiff,                   Case No. 2:23-cv-03073-JFM
        v.

ROCK-IT CARGO USA, LLC.

                     Defendant.


                                          ORDER

       AND NOW, this 29th day of August 2023, upon consideration of the parties’

stipulation to extend the time in which Defendant Rock-It Cargo USA, LCC, must respond to

Plaintiff’s Complaint, it is hereby ORDERED that Defendant must answer, move, or otherwise

respond to the Complaint on or before September 19, 2023.

                                           BY THE COURT:


                                           _____________________________
                                           Murphy, J.
